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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH EDITION


   ARTHUR BARRY SOTLOFF Individually and as
   Administrator of the Estate of STEVEN JOEL
   SOTLOFF; SHIRLEY GOLDIE PULWER, and
   LAUREN SOTLOFF,                                               Case No. 9:22-cv-80726 (DMM)

                          Plaintiffs,

          v.

   QATAR CHARITY, a Foreign Non-Profit
   Organization and QATAR NATIONAL BANK
   (Q.P.S.C.), a Foreign Multinational Commercial
   Bank,

                          Defendants.



              DEFENDANTS’ JOINT MOTION TO STAY PRETRIAL
        PROCEEDINGS PENDING DETERMINATION OF MOTIONS TO DISMISS

         Defendants Qatar Charity and Qatar National Bank (Q.P.S.C.) (“QNB” and, together with

  Qatar Charity, “Defendants”), move for the entry of an order, pursuant to the Court’s inherent

  authority, staying all remaining deadlines set forth in the Pretrial Scheduling Order dated

  December 7, 2022 (D.E. 50) (the “Pretrial Order”), until after this Court’s ruling on Defendants’

  pending motions to dismiss the Complaint for lack of personal jurisdiction and failure to state a

  claim pursuant to Federal Rules of Civil Procedure 12(b)(2) and (6) (D.E. 53, 54). Defendants

  respectfully request a stay of discovery until those motions to dismiss are resolved and, in the

  event the motions are denied, that the schedule in the Pretrial Order be reset to begin running 30

  days after the Court’s order denying the motions to dismiss.




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                                      MEMORANDUM OF LAW

  I.      INTRODUCTION

          As set forth in Defendants’ motions to dismiss (D.E. 53, 54), Plaintiffs’ Complaint should

  be dismissed for a number of reasons, including this Court’s lack of personal jurisdiction over

  Defendants and Plaintiffs’ failure to state a claim. A stay pending resolution of these motions is

  especially warranted when, as here, Plaintiffs have sued foreign Defendants with absolutely no

  in-forum contacts, an intervening Supreme Court decision forecloses Plaintiffs’ cause of action,

  and Plaintiffs themselves have undertaken no steps to prosecute this action. In these

  circumstances, Defendants should not be put to the burden of undertaking expensive trial

  preparations before the Court has ruled on their dispositive motions.

          Plaintiffs have failed to identify any in-forum activity that might suffice to subject

  foreign Defendants QNB and Qatar Charity to the jurisdiction of this Court. Indeed, the only

  U.S.-directed contact Plaintiffs allege with the requisite non-conclusory level of specificity that

  this Court can credit for the purposes of evaluating whether it has jurisdiction over Defendants

  was allegedly directed at New York, and not Florida. Remarkably, Plaintiffs ask this Court to

  assert jurisdiction over the wholly foreign Defendants without alleging any conduct by any

  defendant in this District. (See, e.g., D.E. 53 at 3-6; D.E. 54 at 7-11 (both arguing that Plaintiffs

  fail even to allege conduct by either Defendant in or directed at Florida); cf. D.E. 59 at 1 (“there

  is no allegation of any kind of any conduct (tortious or not) by either defendant in Florida”)).1

  As a result, there are no in-forum contacts, much less sufficient specific U.S.–directed

  allegations, to establish jurisdiction over the foreign Defendants in these proceedings, and


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    Even the allegations focused on New York (not Florida) are woefully insufficient as to jurisdiction in
  New York. See, e.g., Przewozman v. Qatar Charity, et al., 2023 WL 2562537, at *7-18 (E.D.N.Y. Mar.
  17, 2023) (dismissing similar complaint against QNB and Qatar Charity for lack of personal jurisdiction);
  D.E. 65.


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  exercising jurisdiction over them would violate constitutional due process. Furthermore, both

  their primary and secondary liability claims under the Anti-Terrorism Act, 18 U.S.C.§ 2333 (the

  “ATA”) are insufficiently pleaded, as the United States Supreme Court recently confirmed in

  another suit filed under the same provisions. See Twitter, Inc. v. Taamneh, 2023 WL 3511531

  (May 18, 2023). The strength of Defendants’ jurisdictional and substantive arguments warrants

  a stay of discovery pending resolution of their dispositive motions.

  II.       BACKGROUND

            The Pretrial Order set forth a number of discovery deadlines and otherwise set a pre-trial

  schedule. For example, per the Pretrial Order, Plaintiffs were to provide a discovery plan by

  January 6, 2023, and a list of their intended experts, along with any expert reports, by May 5,

  2023. (D.E. 50 at 5). Plaintiffs did not provide any such plan, nor did they provide any such list

  or reports. Defendants’ first substantive deadline, the corresponding disclosure of expert

  witnesses for the defense and any expert reports, on June 2 is fast approaching. (D.E. 50 at 5).

  That deadline is impossible to meet given that Plaintiffs have provided no expert reports to

  which Defendants can respond. For the reasons set forth below, Defendants respectfully submit

  that it is inappropriate to proceed with the previously ordered discovery schedule while the Court

  considers the fully briefed motions to dismiss – which are premised largely on the argument that

  the Court lacks the power to exercise jurisdiction over these foreign Defendants.

  III.      ARGUMENT

         A. This Court Has the Inherent Authority to Stay These Proceedings While the Motion
            to Dismiss Is Pending

            A district court “has broad discretion to stay proceedings as an incident to its power to

  control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). This discretion furthers the

  Court’s interest in conserving judicial resources. Velarde v. HSBC Private Bank Int’l, 2013 WL



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  5534305, at *7 (S.D. Fla. Oct. 7, 2013) (citations omitted); see also Chudasama v. Mazda Motor

  Corp., 123 F.3d 1353, 1368 (11th Cir. 1997) (Court’s authority to stay discovery pending

  resolution of a dispositive motion allows it to avoid “unnecessary costs to the litigants and to the

  court systems”). Such a stay is appropriate particularly when there are preliminary questions that

  may entirely dispose of the pending matter. See, e.g., Latell v. Triano, 2014 WL 5822663, at *2

  (M.D. Fla. Feb. 28, 2014) (“Because there are pending motions challenging personal jurisdiction,

  standing, and the legal sufficiency of the amended complaint, the Court will stay discovery for a

  period of 90 days. Delaying discovery until the Court rules on whether it has jurisdiction and

  Plaintiff has stated a viable cause of action will cause Plaintiff little harm.”); Hesterly v. Royal

  Caribbean Cruises, Ltd., 2008 WL 516495, at *1 (S.D. Fla. Feb. 25, 2008) (staying proceedings

  pending resolution of jurisdictional challenges and jurisdictional discovery).

         To prevail on such a motion to stay, the moving party “must show ‘good cause and

  reasonableness.’” McCullough v. Royal Caribbean Cruises, Ltd., 2017 WL 6372619, at *1 (S.D.

  Fla. Jan. 11, 2017). The Court, on the other hand, “‘must balance the harm produced by a delay

  in discovery against the possibility that the motion will be granted and entirely eliminate the

  need for such discovery.’” McCullough, 2017 WL 6372619, at *1 (emphasis in original).

     B. The Court Should Stay Proceedings Pending Determination of Whether Personal
        Jurisdiction Exists

         In this case, where there is a strong argument that the Court does not have jurisdiction

  over the foreign Defendants, the Court should stay the proceedings pending a ruling on that

  argument. As set forth in the motions to dismiss, the Court lacks personal jurisdiction over

  Defendants on Plaintiffs’ alleged theories of jurisdiction based on either the Florida or federal

  long-arm statutes. Not only do Plaintiffs’ allegations fail to satisfy the statutory requirements of




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  either, but also the lack of contacts between Defendants and the forum ensures that Plaintiffs

  cannot meet constitutional due process requirements.

         Allowing discovery to proceed when the claims against Defendants may be dismissed in

  their entirety for lack of jurisdiction would result in an unnecessary expenditure of judicial

  resources, while imposing quite substantial (and, in Defendants’ view, likely ultimately

  improper) costs and burdens. See, e.g., Gillier v. Servicios Agecom, 2017 WL 6994217, at *2

  (S.D. Fla. Nov. 27, 2017) (staying discovery pending ruling on motion to dismiss for lack of

  personal jurisdiction and improper venue); Gibson v. NCL (Bah.) Ltd., 2012 WL 1952670, at *4

  (S.D. Fla. May 30, 2012) (staying discovery pending ruling on jurisdictional motion to dismiss);

  Latell, 2014 WL 5822663, at *2 (staying proceedings for 90 days pending ruling on jurisdiction

  and legal sufficiency “will cause Plaintiff little harm”). Notably, Plaintiffs did not seek

  discovery on personal jurisdiction, and it is too late now given that they failed to file a motion

  seeking such discovery before responding to the jurisdictional motion. Hinkle v. Cirrus Design

  Corp., 775 F. App’x 545 (11th Cir. 2019) (affirming trial court’s denial for jurisdictional

  discovery when no separate motion was filed).

     C. The Court Should Stay Proceedings Pending Determination of the Challenge as to the
        Legal Sufficiency of Plaintiffs’ Claims

         As facial challenges to the legal sufficiency of a claim present “purely legal” questions

  such that discovery is not required to resolve them, a stay is especially proper when there are

  such challenges pending. Chudasama, 123 F.3d at 1367-69 (trial court abused its discretion

  when it allowed a case to proceed to discovery with a motion to dismiss pending); see also

  Roberts v. FNB S., 716 F. App’x 854, 857 (11th Cir. 2017) (trial court “properly stayed

  discovery pending a ruling on the legal sufficiency of [plaintiff]’s complaint because there was

  no need for discovery before the court rule[d] on the motion”). Here, Defendants have moved to



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  dismiss this matter under, inter alia, Federal Rule of Civil Procedure 12(b)(6), arguing that:

  (i) Plaintiffs have failed to plausibly allege a claim for primary liability under Section 2333(a) of

  the ATA; and (ii) Plaintiffs have failed to plausibly allege a claim for secondary liability under

  Section 2333(d) of the ATA. (See D.E. 53 at 19-22; D.E. 54 at 16-25).

         As previously noticed in a supplemental filing, during the pendency of Defendants’

  motions to dismiss, the U.S. Supreme Court issued its decision in Twitter, Inc. v. Taamneh, 2023

  WL 3511531 (May 18, 2023) (see D.E. 68), which is dispositive of Plaintiffs’ claims under the

  ATA. That decision considered claims by plaintiffs that Twitter aided and abetted a 2017

  terrorist attack in Turkey because it allegedly knew that ISIS used the platform “to recruit new

  terrorists and raise funds for terrorism . . . but failed to stop [ISIS] from doing so.” Taamneh,

  2023 WL 3511531, at *5. The Supreme Court held that the plaintiffs failed to state a claim for

  aiding and abetting liability under JASTA – stating that they “point[ed] to no act of encouraging,

  soliciting, or advising the commission of the [] attack that would normally support an aiding and

  abetting claim.” Twitter, 2023 WL 3511531, at *15. The Court also pointed to the “lack of any

  concrete nexus” between Twitter and the attack as a slippery slope to liability for “having aided

  and abetted each and every ISIS terrorist act committed anywhere in the world.” Twitter, 2023

  WL 3511531, at *16. The decision puts an important limitation on claims for aiding and abetting

  under the ATA that are not “the type of pervasive, systemic, and culpable assistance to a series

  of terrorist activities that could be described as aiding and abetting each terrorist act.” Twitter,

  2023 WL 3511531, at *16.

         Plaintiffs’ claims against Qatar Charity and QNB, based as they are on extraterritorial and

  remarkably attenuated allegations, cannot reasonably be said to rise to the requisite level needed

  to show either primary or secondary liability under the ATA. Twitter confirms that their claims




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  are fatally deficient as a matter of law. Plaintiffs have not plausibly alleged that Defendants’

  “aided and abetted ISIS in carrying out,” or “gave such knowing and substantial assistance to

  ISIS that they culpably participated in,” the murder of Mr. Sotloff. Twitter, 2023 WL 3511531,

  at *13.

        D. There is No Harm to Plaintiffs, as Demonstrated by Their Failure to Meet Their
           Own Discovery Deadlines

            As the parties who initiated this litigation, Plaintiffs properly have had the initial burdens

  with respect to discovery. Under the Court’s Pretrial Order, Plaintiffs were to provide a

  discovery plan by January 6, 2023, and a list of their intended experts, along with any expert

  reports, by May 5, 2023. (D.E. 50 at 5). They provided Defendants with no such plan, nor any

  such list or reports. Defendants’ first substantive deadline, the corresponding disclosure of

  expert witnesses for the defense and any expert reports, on June 2 is fast approaching. (D.E. 50

  at 5). Plaintiffs’ own failure to meet the Court’s discovery deadlines, without seeking leave of

  the Court for an extension, confirms that Plaintiffs will not suffer any harm if Defendants’ first

  substantive discovery deadline, and all other discovery deadlines, are stayed pending the Court’s

  resolution of Defendants’ dispositive motions.

  IV.       CONCLUSION

            For the foregoing reasons, Defendants respectfully request a stay of discovery and that all

  remaining deadlines set forth in the Pretrial Order be adjusted based on the first stayed deadline

  (Defendants’ deadline to disclose expert witnesses) and reset to run 30 days after the Court’s

  order on the Motions to Dismiss (assuming they are not granted).




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                     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

         Counsel for Defendants Qatar Charity and Qatar National Bank (Q.P.S.C.) have conferred

  with Plaintiffs’ counsel regarding this Motion. Plaintiffs’ counsel was not able to provide a

  position on the relief requested prior to filing. Should Plaintiffs’ counsel, upon review of the

  Motion, provide a position, this certificate will be updated.


  Respectfully submitted,

  Dated: May 26, 2023
         Miami, Florida

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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 26, 2023, a true and correct copy of the foregoing was

  served via transmission of Notices of Electronic Filing generated by CM/ECF on all counsel or

  parties of record.

                                                     By: /s/ Harout J. Samra
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